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                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
U.S. District Court case number:               20-CV-02373-PHX-ROS
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: 05/05/2020

Date of judgment or order you are appealing:                     12/04/2024

Docket entry number of judgment or order you are appealing:                               258
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Plaintiff-Appellant Taylor Cox, on his own behalf and on behalf of the Class of
  Proposed Intervenor Plaintiffs



Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?                     22-16287, 24-1385, and 24-1405
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature       /s/Charles Carreon                                      Date Dec 30, 2024
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                            Rev. 06/09/2022
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Intervenor Plaintiff-Appellant Taylor Cox


Name(s) of counsel (if any):
Charles Carreon



Address: 7 N. Ridge Crest Cir., Silver City, New Mexico 88061
Telephone number(s): 928-975-2191
Email(s): chascarreon@gmail.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes          No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Merrick Garland, U.S. Attorney General; Anne Milgram, Administrator, U.S.
Drug Enforcement Administration; Alejandro Mayorkas, Secretary, Dept. of
Homeland Security; and Chris Magnus, Comm'r U.S. Customs and Border Prot'n
Name(s) of counsel (if any):
AUSA Lisa Newman
AUSA Bonnie Devany
USDOJ, Civil Division, Federal Programs Branch
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To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                          New 12/01/2018
